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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Romualda Thomas
                                       Plaintiff,
v.                                                       Case No.: 1:18−cv−03359
                                                         Honorable Andrea R. Wood
United States of America, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 19, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Defendants' Agreed
Motion for extension of time [26] is granted. The briefing schedule on Plaintiff's motion
for preliminary injunction [25] is stricken until further order of Court. Defendants
deadline to answer or otherwise plead to Plaintiff's complaint is extended to 12/7/2018.
The motion presentment date of 10/23/2018 is stricken; parties need not appear. Status
hearing set for 11/20/2018 is stricken and reset for 12/6/2018 at 09:00 AM. Mailed
notice(ef, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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